Case 20-10154-LSS Doc1 Filed 01/24/20 Page 1 of 18

 

United States Bankruptcy Court for the:

Districi of _ Delaware
(Slate}
Case number (if ktown): Chapter 7

 

EJ Check if this is an
amended filing

Official Form 205

Involuntary Petition Against a Non-Individual 42115

Usa this form to bagis a bankruptcy case against a non-individual you alfage to be a debtor subject to an Invoiuntary case. If you want to begin
a case against an individual, use the involuntary Petition Ageinst an Individual (Official Form 105). Be as completa and accurata as possible. If
more space is needed, attach any additional sheets to this form. On the top of any additional pages, write debtor's neme and case number (If

known).

: Identify the Chapter of tha Bankruptcy Gode Under Which Petition is Filed

 

4. Ghapter of the Check one’

Bankruptcy Code
GY Chapter 7

C) Chapter 14

: idantify the Debtor

 

2. Debtor's name La Senza International, LLC

3. Other names you know
the debtor has used in
the last 8 years

 

 

 

include any assumed
names, trade names, or
doing business as names,

4, Debtor's federal
Employer Identification © Unknown
Number (EIN)

 

 

 

 

 

 

 

 

 

 

EIN
dd '
5. Debtor's addrass Principal piace of business Mailing address, If different
C/O Regent L.P. Atin: Michael Reinstein
9720 Wilshire Boulevard, 6th Floor
Number Street Number Street
P.O. Box
Beverly Hills CA 90212
iy Bale” DP Code Gay Glala «ZIP Gode
Location of principal assets, If differant from
| principal place of business
County Number Street

 

 

 

 

Cily State = ZIP Coda

Official Form 205 Involuntary Petition Against a Non-Individual page 1
Case 20-10154-LSS Doc1 Filed 01/24/20 Page 2 of 18

Detter La Senza international, LLC Case number wanoant

Nenu

'¢. Debtor's website (URL)

 

7, Type of debtor

8, Type of debtor's
business

 

ey Corporation (including Limited Liability Company (LLC} and Limited Liability Parinership (LLP)

OC) Other type of debtor. Specity:

www. lasenza.com

CY Partnership (excluding LLP)

Check one:

1 Health Gara Businuss fas defined In 11 U.S.C. § 101(27A)}
(] Single Asset Real Estate (as defined In 14 U.S.C. § 101(51B)}}
(CI Railroad (as defined in 11 U.S.C, § 101/44)

Cl Stockbroker (as defined in 11 U.S.C. § 101063a))

E) Commodity Broker (as defined In 14 U.S.C, § 101(6))

2 clearing Bank (a3 defined In 14 U.S.C. § 781(3))

BY None of the lypes of business listed,

 

 

 

 

11, Allegations

12, Has there been @
transfer of any claim
against the debtor by or

 

Official Form 205

€] Unknown type of business.
8, To the best of your &Y No
knowledge, are any Q
bankruptcy cases Yes. Debtor Relationship —
pending by or against Distie ef Pr
any partner or affillate strict Dale fled EWI Tae Case number, # kmown
of this debtor?
Debtor Relationship
Distdet Bt let Case number, if known
MM DG YY YY
Repert About the Case
10, Venue Chack one:

to any petitioner?

BY Over the last 180 days before the filing of this bankruptey, the deblor had a domicile, principal place of
business, or prinelpat assets in this district longer than In any other district.

(3 «4 bankrupicy case concerning debtor's affiliates, general partner, or partnership is pending in this district.

Each petitioner Is etigitia to file ibis petilion under 11 U.S.C. § 3083/5}.
The debtor may de the subject of an involuntary case under 41 U.S.C. § 303{a).

At least one box must be checked:

G9 The debtor ds generally not paylng Hts dabts as they become due, unless they are the subject of a bona
fide dispule as to flabillly of amount,

(2 within 120 days before the filing of this peiltion, a custodian, other than a trustee, receiver, or an
agent appointed or aulhorized to take charge of less than substantially all of the property of ihe i
deblor for the purpose of entercing a tien against such property, was appointed or took possession.

No

(J Yes. Attach all documents that evidence the transfer and any slaterrents required under Bankruptcy
Rule 1003{a).

 

tevaluntary Patition Against a Nar-individual page 2
Case 20-10154-LSS Doc1 Filed 01/24/20 Page 3 of 18

 

 

 

 

 

Debor La Senza International, LLC Case number prises
Name
“43, Each petitioner's claim Name of patitioner Natura of petitioner's claim Amount of the clain
above the value of
any flea
MGF Sourcing US, LLC Goods and services ‘Atleast $150,000
Ocean Lanka (Pvt) Ltd Goods and services Atleast $100
Teejay Lanka Plc Goods and services Atleast $100
Total of peiltioners' claims At lenst $450,206

If more space is needed to Hist potitioners, attach additional sheets, Write the allaged debtor's nama and the case number, If known, at
the top of aach sheet. Following the format of this form, set out the Information required In Parts 3 and 4 of the form for aach

additional petitioning creditor, the petitioner's claim, the petitioner's representative, and the petitioner's aftorney. Include the
statement under penally of porlury set cut in Part 4 of the form, followed hy each additional patitioner’s (or representative's) signature,

along with the signatare of the petitlonae's attorney. -Veloes canettute edolewm ammount mead enty by La Senza Infeinavonal. LLC, In pogregate with cleinea epainat debter-atdaie
La Senza iniemadonal Canada, U2 ft aggregate sition! el claiima ofthe sboye~d¢heduled pattionsss eco a6 follows.
MGF Sourcing Us. tC $a424 941.69
. Oeaan Lenke (Pvij Lid. $759,008 55
oe Toafay Lanka Pic S95 200.00
Request for Relief

 

 

WARNING -- Bankruptcy fraud |s a serious crime. Making a false statement in connection with a bankruptcy case cari result in fines up to
$500,000 or imprisonment for up to 20 years, orboth, 18 U.S.C, §§ 152, 1341, 1649, and 3571.

Patitioners raquest that an order for relief be entered against the debior under the chapler of 71 U5 C. specified In this petition. Ifa
politioning creditor is a corporation, allach the corporate ownership glatamenl required by Bankruptcy Rute 1010(b), Ef any petitioner is a
foreign representalive appointed in a foreign proceeding, attach a cerlifisd copy of the order of the court granting recognition.

{have examined the iiformation In this document and have a reasonable belief that the information Is true and correct.

Patitioners or Petitioners’ Representative Attorneys

Name and mailing address of patitionor

 

 

 

 

 

 

 

MGF Sourcing US, LLC Domenic E, Pacitti
Nama Printed name
: Klehr Harrison Harvey Branzburg LLP
4200 Regent Street, Suite 205 Fee Ta =
Number Street
Columbus OH 43219 919 N. Market Street, Suite 1000
iy State ZiF Gode Number Stree
Wilmington DE 49801
City State ZIP Cora

Narie and mailing address of patltloner’s representative, if any
Contact phone 302-552-5511 emaa_dpacitti@kehr.com

 

 

 

 

 

Name

Ber number 3989
Number Street

Stats DE
chy State ZIP Code

{ declare under penalty of perjury that the foregaing is rue and corect,

 

 

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Signature of atorney
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Signaluhent geiltiona} or representalMeinzaydingtepresentative’ s title Date signed /

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Official Form 205 Tavoluntary Petition Against a Non-Individual page 3

 
Case 20-10154-LSS

Debtor

 

La Senza interational, LLC

Name

Doc 1 Filed 01/24/20 Page 4 of 18

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Name and matling address of potitlonar
Ocean Lanka (Put Lidl

Name

Block 'B! BEPZ, Walgaima

Numbor ” Street:

Malwana Si Lafka |
City : oo ‘Bale

 

 

 

ae Code

Name ; ang mailing addross of pation 8 representative, if any

 

   
 

Rimiber Street

x

 

Signature of pétifioner or representative, Tretudnly representative's title

 

Robert S. Brady

Printed nate

Youhg Conaway Stargatt & Taylor, LLP

Fim nama, if any

 

 

 

 

1000 Nosth King Street

Number Street

Wilmington DE 19801
City” : State ZIP Gada

Contact phone: (302) 571-6690 Email sbracy@ycst.com

 

2847

 

 

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State DE
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Date signed al / a i 202.0

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Nartie-and tailing address of petitioner
_ Te@jay Lanka Pic

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Block D8 D14, Seethawaka Export Processing Zone

 

 

 

 

 

 

Se ee ee ee

Robert S$. Brady
Prifled name —

Young. Conaway Stargatt Taylor, LLP

Firm nama, if bay

 

 

 

 

 

 

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Avissawella Sri Lanka 1000 North King Street
Cily Slate ZIP Gade i Number Street
¢ Wihmington __ DE 19804
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i Goiiteet phone (3 02) 571-6690 temas rorady@ycst.com
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| declare under penally of parjury that the foregoing fs true and. correct. a
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Signature of petitioner or representative, Including representative's fille Hl MM TDD SYYYY

 

Officiat Form: 205

Involuntary Petition Against a Non-Individuel

 

 

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Case 20-10154-LSS Doc1 Filed 01/24/20 Page 5 of 18

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  
  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor aSenza Inter: national, LLG: Case umber tire)
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| Name-anet mailing address 6f petitioner
+ Ocean Lanka (Pvt) Ltd Robert S$, Brady |
| ‘Name: Prihted nama i
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; Block B' BEPZ, Walgama munca |
i Number Street .. .
Gly ‘Siate ZIP Gade Number  Sirest
‘ Wilmington DE 19801;
| Naitie.ahd mailing address of patitioner’s representative, if any Cly ‘State “AIP Code ‘
i Contactphone (302) 5714-6690 Ener Forady@yest.com
| Name sin gee i
Bar number 2847 . : '
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; I declare under penalty of perjury that the-foregging Is true and.correct é
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i Signature of petitioner or representative, including representative's tie Hiv FOB INY¥Y }
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| Teajay Lanka Ple = Robert'S. Brady
a Renta” a 3 Printéd’hame" ~
Block D8 D414, Seethawaka Export Processing Zone § Young Conaway Stargatt & Taylor, LLP
‘Number Steet —— q Pimanams, any
1 _Avissawella Sri Lanka 1000. North King Street
city dae — FP Gade a Number Street
Ste

2 Wilmington DE 19801
. Be 3 “iS kn mm ~ . .
Name-and. mailing address. of petitioner's: representative, if any a Gly State ZIP Gods ‘
Pu budu ke. Shug Contact phone (302) 571-6690 emai .sbrady@ycst.com

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Date signed él yj a4 [202o
MM TDD iYYY

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Case 20-10154-LSS Doc1 Filed 01/24/20 Page 6 of 18

United States Bankruptcy Court
District of Delaware

Inre _La Senza International, LLC. Case No. =

 

Debtor(s) Chapter T

 

CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for MGF Sourcing US, LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:

MGF Sourcing Holdings
4200 Regent Street, Suite 205
Columbus, Chic 43219

OC) None [Check if applicabie|

  

jp LY - 7e isl

Date Domenic E. Pacitti

Signature of Attorney or Litigant
Counsel for MGF Sourcing US LLC
Klehr Harrison Harvey Branzburg LLP
919 N. Market Street, Suite 1000

Wilmington, Delaware 18801
(302) 552-5517

 

 

 
Case 20-10154-LSS Doc1 Filed 01/24/20 Page 7 of 18

United States Bankruptcy Court
District of Delaware
Inre La Senza International, LLC, Case No.
Debtor(s} Chapter 7

CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Ocean Lanka (Pvt) Ltd in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:

Fountain Set (Holdings) Limited (Hong Kong}

 

O None [Check if applicable]

isi

24. January, 2020 Lam S. Brady

ignature of Attorney or Litigant Counsel for
Ocean Lanka (Pvt) Ltd

Young Conaway Stargatt & Taylor, LLP
1000 North King Street
Wilmington, DE 19804
Case 20-10154-LSS Doc1 Filed 01/24/20 Page 8 of 18

United States Bankruptcy Court

District of Delaware

Case No. .

Inte La Senza International, LLC.
Debtor(s) Chapter t

CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or

recusal, the undersigned counsel for Teejay Lanka Ple in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of

the corporation's(s'} equity interests, or states that there are no entities to report under FRBP 7007.1:

Brandix Lanka Ltd
Pacific Textiles (HK)

Oi None [Check if applicable]

ol la 2020 is! LD OO

Date Robert S. Brady Cc/
fenature of Attorney or Litigant Counsel for

ecjay Lanka Ple |
Young Conaway Stargatt & Taylor, LLP
4000 North King Street
Wilmington, DE 19801
Case 20-10154-LSS Doc1 Filed 01/24/20 Page 9 of 18

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

In re:
LA SENZA INTERNATIONAL, LLC

Alleged Debtor.

 

AFFIDAVIT OF DANIEL BLOCH ON BEHALF OF MGF SOURCING US, LLC
PURSUANT TO FEDERAL RULE OF BANKRUPTCY PROCEDURE 1003(a)

 

STATE OF OHIO )
) ss:
COUNTY OF FRANKLIN)
Daniel Bloch, being duly sworn, deposes and states:

l. I make this affidavit on behalf of MGF Sourcing US, LLC (“‘Petitioning Creditor”)
in the above-captioned involuntary chapter 7 case (the “Bankruptcy Case”) filed by Petitioning
Creditor and other petitioning creditors against La Senza International, LLC (the “Debtor,” and,
collectively with its affiliated entities, La Senza International Canada, LLC and La Senza Canada,
Inc., “La Senza”). I am fully familiar with the facts set forth herein either through my own personal
knowledge or through a review of documents related to Petitioning Creditor’s claims against the
Debtor. If called to testify in connection with the Bankruptcy Case, the following would constitute
my testimony.

2. Iam the Vice President of Finance of Petitioning Creditor.

3. On December 13, 2018, fashion retailer L Brands, Inc. (“L_ Brands”) announced
that it had agreed to sell La Senza to Regent, L.P. (“Regent”), Central to the deal was MGF’s
willingness to source goods for La Senza, which, in turn, was contingent upon La Senza’s securing

a letter of credit and L Brands’ agreement to guarantee payment to MGF for those goods. MGF

required assurances from La Senza and L Brands that MGF would have little or no exposure in the
Case 20-10154-LSS Doc1 Filed 01/24/20 Page 10 of 18

event that La Senza failed to pay for the goods MGF supplied. Accordingly, the parties entered
into agreements designed and intended to provide MGF with the security it required, and to induce

MGF to source goods to La Senza. In pertinent part, these agreements provided that:

e La Senza would obtain a Letter of Credit equal to half of La Senza’s inventory
value, and thereafter, L Brands would guarantee up to $20 million of La Senza
orders. MGF would be entitled to draw under the Letter of Credit in the event
that La Senza defaulted on its payment obligations or otherwise did not fully
perform;

¢ MGF would source goods for La Senza’s inventory and the two would enter
into binding contracts for the purchase and sale of goods;

° in the event that MGF has commercially reasonable grounds for insecurity with
respect to La Senza’s performance, and La Senza does not provide assurance of
timely performance within 10 days, MGF is entitled to suspend performance
under the MSA or of any individual orders placed by La Senza;

e in the event that La Senza becomes insolvent, MGF has the ability to terminate
the MSA or any order placed under the MSA; and

e L Brands guaranteed “the due and punctual payment of new La Senza orders

placed with MGF pursuant to the MSA” including a guarantee of $20 million
for orders placed between June 1, 2019, and May 31, 2020.

4. Not long after entering into the MSA, La Senza began to default on its obligations,
Despite MGF’s efforts to work in good faith with La Senza to find solutions, La Senza regularly
disregarded its obligations and ultimately refused to provide MGF with adequate assurances of
future performance.

5, By April 2019, less than six months after the sale to Regent, it became clear that La
Senza would not deliver the Letter of Credit by May 1, 2019, as required by the MSA. To facilitate
La Senza’s performance, MGF agreed to amend the MSA to give La Senza the option of
establishing an escrow account to guarantee payment for goods sourced by MGF (the “Escrow

Account”), according to the following cumulative funding schedule:
Case 20-10154-LSS Doc1 Filed 01/24/20 Page 11 of 18

e June 17, 2019: $5,000,000;!

© onor prior to September 30, 2019; $5,000,000; and

© on or prior to December 30, 2019: The lesser of $5,000,000 or the amount
necessary to bring the total amount of the Escrow Account to 50% of La Senza’s
Inventory Value as defined in the MSA.

6, Alternatively, La Senza could, at any time, deliver the Letter of Credit as originally
required by the MSA. In reliance on La Senza’s promise to fund the Escrow Account, MGF
continued accepting La Senza orders and shipping goods to La Senza.

7. La Senza failed to fund the Escrow Account with any of the required payments. La
Senza also still failed to deliver a Letter of Credit. Despite failure to meet those obligations, La
Senza was not yet substantially delinquent in making payments for goods shipped and the
financials it shared with MGF did not reflect insolvency. Therefore, MGF continued accepting La
Senza orders and shipping goods to La Senza notwithstanding La Senza’s failure to meet its
obligations under the MSA, as amended.

&. On October 5, 2019, La Senza failed to timely pay for a substantial amount of goods
shipped by MGF to La Senza under the MSA, and by October 10, 2019, La Senza was delinquent
on approximately $10 million in goods delivered to it under the MSA, By October 31, 2019, the
delinquency had grown to over $11 million.

9. Consistent with the terms of the MSA, on October 31, 2019, MGF exercised its

right to demand that La Senza cure its material breaches and provide MGF with reasonable

assurances of due performance within ten business days. Meanwhile, MGF continued to work in

 

' Although the first amendment to the MSA required La Senza to deposit $5,000,000 in the Escrow Account by
June 3, 2019, MGF subsequently agreed to extend La Senza’s deadline to make its initial deposit to the Escrow
Account to June 17, 2049,
Case 20-10154-LSS Doc1 Filed 01/24/20 Page 12 of 18

good faith with La Senza and L Brands to attempt to reach an agreement to enable all parties to
satisfy their contractual obligations.

10, By November 22, 2019, however, it became clear that La Senza had no intention
of curing its breaches, paying MGF for the goods it supplied, or providing assurances of future
performance. Indeed, La Senza is currently in default on over $41.7 million in payments for goods
MGF has previously shipped. Further, La Senza ignored MGF’s October 31, 2019, letter
demanding adequate assurances, and during the parties’ subsequent discussions refused to provide
MGF with a representation that La Senza is solvent.

11. La Senza also failed to provide MGF with certain financial data, some of which
was required under the MSA, which would allow MGF to determine the full extent of La Senza’s
financial position, including cash available to pay MGF and other creditors for goods and services
provided to La Senza. Instead, La Senza hid the amount of cash it had available because it knew
that MGF would insist that La Senza use the cash received from sales of MGF goods te pay for
those goods, as La Senza had promised to do.

12. La Senza has continued to refuse to cure its material breaches, or to provide MGF
with adequate assurances of future performance or a representation of solvency. MGF also
demanded that La Senza stop selling goods sourced by MGF and return them, but La Senza has
not done so.

13. La Senza’s communications with MGF has become increasingly infrequent, and
they refuse to provide financial information without imposing conditions so that MGF can make

an informed decision about how to deal with La Senza on 2 go-forward basis.
Case 20-10154-LSS Doc1 Filed 01/24/20 Page 13 of 18

14. —_ Petitioning Creditor holds claims in the aggregate past due principal amount of at
least $150,000? with respect to the Debtor-—and approximately $8.4 million in total aggregate past
due amount in conjunction with the amounts owed by Debtor-affiliate La Senza International
Canada, LLC——based upon the goods and services furnished to the Debtor by the Petitioning
Creditor for which the Debtor has not paid. These claims accrued from October I, 2019, to
December 3, 2019, as reflected in the attached document. The past due amounts are growing and
will likely soon contain amounts not yet past due, increasing the total aggregate amount to
approximately $9 million.

15. Petitioning Creditor holds actual, undisputed, non-contingent claims against the

Debtor.

[Remainder of page intentionally left blank]

 

he

MGP’s claim against the Debtor almost assuredly exceeds $150,000. La Senza has recently made largely baseless
allegations, however, presumably to invent a dispute. As a result, I selected the $150,006 claim amount because,
even assuming the baseless allegations were true, MGF’s claim against the Debtor would not conceivably be less
than $150,000,
Case 20-10154-LSS Doc1 Filed 01/24/20 Page 14 of 18

Dated this 21st day of January, 2020, at 4200 Regent Street, Suite 205, Columbus, Ohio 43219,

 

Sworn to gad subscribed before me
This 2/7 day of January, 2020

cm Pflotic

Ss; in Jennifer L Carruthers

oe a Notary Public, State of Ohio

< ¥ = My Commission Expires
<

April 29, 2022

 
Case2O0-1015455. Doc Filed 01/24/20. Page 15. of .18

IN THE UNITED STATES BANKRUPTCY COURT
_ FOR THE DISTRICT-OF DELAWARE

 

In re: . Chapter 7
LA SENZA INTERNATIONAL, Case No, - |
LLC

Alleged Debtor.

 

 

AFFIDAVIT OF DR. AUSTIN AU ON BEHALF OF OCEAN LANKA (PVT) LTD
PURSUANT TO FEDERAL RULE OF BANKRUPTCY PROCEDURE 1603(a)

)
}ss:
COUNTRY OF SRILANKA )
Dr, Austin Au, being duly sworn, deposes and states:

1, I make this affidavit on behalf of Ocean Lanka (Pvt) Ltd (“Petitioning Creditor”)
in the above-captioned involuntary chapter 7 case (the “Bankruptcy Case”) filed by Petitioning
Creditor and other petitioning creditors against La Senza International, LLC (the “Debtor”). I am
fully familiar with the facts set forth herein either through my own personal knowledge or through
a review of documents related to Petitioning Creditor’s claims against the Debtor. If called to
testify in connection with the Bankruptcy Case, the following would constitute my testimony.

2. I am the Managing Director of Petitioning Creditor.

3, Petitioning Creditor holds claims in the aggregate principal amount of at least $100
with respect to the Debtor—and $731,805.50 in total aggregate amount in conjunction with the
amounts owed by Debtor-affiliate La Senza International Canada, LL.C—based upon the goods

and services furnished to the Debtor by the Petitioning Creditor for which the Debtor has not paid,

 
Case 20-10154-1SS__ Doct Filed 01/24/20 Page 16.of 18

4, Petitioning Creditor holds actual, undisputed, non-contingent claims against the —

Debtor,

Dated this 17 day of January, 2020 at Malwana, Sri Lanka.

 

Dr, Austin Au

Sworn to and subscribed before me
This day of January, 2020

 

Notary Public

 
Case 20-10154-LSS Doc1 Filed 01/24/20 Page 17 of 18

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

Jn re: Chapter 7
LA SENZA INTERNATIONAL, Case No. __-
LLC

Alleged Debtor.

 

 

AFFIDAVIT OF PUBUDU DE SILVA ON BEHALF OF TEEJAY LANKA PLC
PURSUANT TO FEDERAL RULE OF BANKRUPTCY PROCEDURE 1003{a)

}
) ss:
COUNTRY OF SRILANKA  }

Pubudu De Silva, being duly sworn, deposes and states:

1. ] make this affidavit on behalf of Teejay Lanka Plc (“Petitioning Creditor”) in the
above-captioned involuntary chapter 7 case (the “Bankruptcy Case”) filed by Petitioning
Creditor and other petitioning creditors against La Senza International, LLC (the “Debtor”). I
am fully familiar with the facts set forth herein either through my own personal knowledge or
through a review of documents related to Petitioning Creditor’s claims against the Debtor. If

called to testify in connection with the Bankruptcy Case, the following would constitute my

testimony.
2. I am the Chief Executive Officer of Petitioning Creditor.

3. Petitioning Creditor holds claims in the aggregate principal amount of at least $100

with respect to the Debtor—and $195,209 in total aggregate amount in conjunction with the
amounts owed by Debtor-affiliate La Senza International Canada, LLC—based upon the goods

and services furnished to the Debtor by the Petitioning Creditor for which the Debtor has not paid.
Case 20-10154-LSS Doci1 Filed 01/24/20 Page 18 of 18

4, Petitioning Creditor holds actual, undisputed, non-contingent claims against the

 

Debtor.

Dated this day of January, 2020 at Avissawella, Sri Lanka.

Purdie Ox Br»

Pubudu De Silva.

 

Swom to and subscribed before me
This day of January, 2020

 

Notary Public

 
